Case 4:19-cv-00398-DPM Document 83 Filed 11/09/21 Page 1of1

IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS
CENTRAL DIVISION

BRITNEY WALLS, as Special Administratrix
of the Estate of Bradley Blackshire, Deceased PLAINTIFF
V. No. 4:19-cv-398-DPM

CHARLES STARKS, Officer;
MICHAEL SIMPSON, Officer;
and CITY OF LITTLE ROCK DEFENDANTS

JUDGMENT

Walls’ complaint is dismissed with prejudice.

ATP Gas (all ‘ f:
D.P. Marshall Jr.
United States District Judge

 

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